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                                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF OKLAHOMA

        BLACK EMERGENCY RESPONSE                             )
        TEAM, et al.,                          )
                                               )
                                               )
                            Plaintiff(s),      )
                                               )
         v.                                    )                      Case No. CIV-21-1022-G
                                               )
        JOHN O’CONNOR, in his official
                                               )
        capacity as Oklahoma Attorney General,
                                               )
        et al.,
                                               )
                            Defendant(s)       )

                                           ENTRY OF APPEARANCE

          To the Clerk of this court and all parties of record:

                    Enter my appearance as counsel in this case for:
          Plaintiffs                , BLACK EMERGENCY RESPONSE TEAM, et al.                               .
          (Plaintiff/Defendant)                     (Name of Party)


                I certify that I am admitted to practice pro hac vice in the above-referenced
          case and am registered to file documents electronically with this court.


                                          s/ Gary Stein                               11/3/2021
                                          Signature                                            Date

                                          Gary Stein
                                          Print Name

                                          Schulte Roth & Zabel LLP
Criminal Cases Only:                      Firm

       Retained or USA                    919 Third Avenue
                                          Address
       CJA Appointment
                                          New York                         NY                  10022
                                          City                             State               Zip Code
       Federal Public Defender
                                          (212) 756-2000
       Pro Bono                           Telephone

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                                          Internet E-mail Address




    REVISED 05/14/18
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                                         Certificate of Service
         ✔ I hereby certify that on November 3, 2021
        ____                                                      , I electronically transmitted the attached

document to the Clerk of Court using the Electronic Case Filing System for filing. Based on the records

currently on file in this case, the Clerk of Court will transmit a Notice of Electronic Filing to those

registered participants of the ECF System.




        _____ I hereby certify that on                            , I filed the attached document with the

Clerk of the Court and served the attached document by

on the following, who are not registered participants of the ECF System:




                                                          Gary Stein
                                                       V
                                                       s/ Attorney Name
